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1     Todd M. Friedman (SBN 216752)
2     Adrian R. Bacon (SBN 280332)
      LAW OFFICES OF TODD M. FRIEDMAN, P.C.
3
      21550 Oxnard St. Suite 780,
4     Woodland Hills, CA 91367
5
      Phone: 877-206-4741
      Fax: 866-633-0228
6     tfriedman@toddflaw.com
7      abacon@ toddflaw.com
      Attorneys for Plaintiff
8

9
                         UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA
10

11                                                         ) Case No.
      DAVID VACCARO, individually                          )
12
      and on behalf of all others similarly                )
13    situated,                                            ) 2:18-cv-09261-JAK-RAO
      Plaintiff                                            )
14
      v.                                                   ) NOTICE OF SETTLEMENT
15    FIRST CONSUMER                                       ) AS TO INDIVIDUAL CLAIMS
16
      PROCESSING CORP. d/b/a                               ) ONLY
      FUNDMERICA, and DOES 1-10,                           )
17    inclusive,                                           )
18    Defendant.                                           )
19
                                                           )

20          NOW COMES THE PLAINTIFF by and through their attorney to
21    respectfully notify this Honorable Court that this case has settled individually.
22    Plaintiff request that this Honorable Court vacate all pending hearing dates and
23    allow sixty (60) days with which to file dispositive documentation. Dispositional
24
      documents will be forthcoming. This Court shall retain jurisdiction over this
25
      matter until fully resolved.
26
      Dated: March 8, 2019             Law Offices of Todd M. Friedman, P.C.
27

28                                                              By: s/ Adrian R. Bacon
                                                                      Adrian R. Bacon


                                         Notice of Settlement
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1
                              CERTIFICATE OF SERVICE
2

3     Filed electronically on March 8, 2019, with:
4
      United States District Court CM/ECF system
5

6
      Notification sent electronically on March 8, 2019, to:

7     To the Honorable Court, all parties and their Counsel of Record
8

9
      s/Adrian R. Bacon
10     Adrian R. Bacon
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                                        Notice of Settlement
